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                                          U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007



                                                     March 22, 2021

BY ECF & ELECTRONIC MAIL
The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:       United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

       In accordance with the Court’s March 18, 2021 order (the “Order”), the parties have met and

conferred regarding proposed redactions to Exhibit 11 and the defendant’s cover letter dated March

9, 2021.     The parties have reached agreement regarding redactions as to Exhibit 11 and the

defendant’s cover letter. The parties do not believe any redactions are needed as to the defendant’s

cover letter. The parties’ proposed redactions to Exhibit 11 are submitted under seal for the Court’s

consideration.

       The Government intends to file its omnibus memorandum of law and the corresponding

exhibits consistent with the Court’s Order, with one exception to which the defense consents. In

particular, the defense has indicated that it no longer wishes the Government to remove the redactions

the Government had originally proposed to pages 118 to 119 of the Government’s brief. Those

redactions refer to and quote from portions of an exhibit filed under seal by the defense and which

the Government understands is filed under seal in Giuffre v. Maxwell, 15 Civ. 7433 (LAP).

Accordingly, the Government has kept those redactions in the attached omnibus memorandum of law.

       Additionally, and mindful of the presumption of public access, the Government notes that

some of the defense’s proposed redactions which the Court adopted in the Order include language
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that is contained in the publicly-filed Indictment in this case. In particular, the additional redactions

proposed by the defense to pages 129 to 134 on March 9, 2021 relate to language that is contained in

Count Six of the publicly filed Indictment in this case. Although the Government respectfully submits

that there is no basis under the applicable standard to redact language that is already publicly available

on the docket in this case, the Government is prepared to file the brief with redactions consistent with

the Order subject to any further direction from the Court. In addition, the defense also requested

earlier today an additional redaction to the bottom of page 134, which is reflected in a red box in the

enclosed memorandum.        The language covered by this additional redaction is also related to

information that is in the publicly filed Indictment. Although, as noted above, the Government is

aware of no basis to redact language that is available in the publicly-docketed Indictment, the

Government is prepared to file the brief with this additional redaction, subject to any further direction

from the Court.

       The Government respectfully submits under seal the enclosed version of its memorandum of

law with proposed redactions consistent with the Court’s Order, the redactions originally proposed

by the Government and contained on pages 118 to 119, and the additional redaction proposed by the

defendant on page 134. The Government will publicly file its memorandum of law with the enclosed

proposed redactions, unless modified by the Court, at the Court’s direction.


                                                     Respectfully submitted,

                                                     AUDREY STRAUSS
                                                     United States Attorney

                                               By:      s/
                                                     Maurene Comey / Alison Moe /
                                                     Lara Pomerantz / Andrew Rohrbach
                                                     Assistant United States Attorneys

Cc: All Counsel of Record (By email)
